Case 19-50920 Doci0 Filed 07/23/19 Entered 07/24/19 16:15:38 _ Page 1 1of3

RU RR cle ee aA cCR Mek Cuenta

 

 

 

 

Form 122A-1Supp:

Debtor1 John J. Burkhardt Jr.
First Name Middie Name Last Name .

W 1. There is no presumption of abuse.
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name C] 2. The calculation to determine if a presumption of

o. | abuse applies will be made under Chapter 7

United States Bankruptcy Court for the: District of Connecticut Means Test Calculation (Official Form 122A-2).
Case number 19-50920 (1 3. The Means Test does not apply now because of
(If known) qualified military service but it could apply later.

 

 

L) Check if this is an amended filing

Official Form 122A—1

 

Chapter 7 Statement of Your Current Monthly Income 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

| Part 4: | Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

4 Not married. Fill out Column A, lines 2-11.
QQ] Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

(] Married and your spouse is NOT filing with you. You and your spouse are:
QO Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

Q) Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through

August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or.
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions

(before all payroll deductions). $0.00 $
3. Alimony and maintenance payments. Do not include payments from a spouse if 0.00
Column B is filled in. $ : $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not 0.00
filled in. Do not include payments you listed on line 3. $ . $

5. Net income from operating a business, profession,

or farm Debtor 1 Debtor 2

Gross receipts (before all deductions) g_ 0.00 ¢

Ordinary and necessary operating expenses -—$ 0.00-¢

Net monthly income from a business, profession, orfarm ¢ 0.00 ¢ roPy $ 0.00 $
6. Net income from rental and other real property mg 0.06 o Debtor 2

Gross receipts (before all deductions) 0 S$

Ordinary and necessary operating expenses -~$ 0.00-$

Net monthly income from rental or other real property g 9.00 $ ports, $ 0.00
7. Interest, dividends, and royalties $ $

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1
Entered 07/24/19 16:15:38 Page 2of3

Case 19-50920 Doc10 Filed 07/23/19

 

 

 

 

Debtor 1 John J. Burkhardt Jr. Case number (known), 19-50920
First Name Middie Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 $
Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here? ........-...scsssseeesese
For you $ 755.00
For your spouse $
9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 373,00 $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic

terrorism. If necessary, list other sources on a separate page and put the total below.
$ 0.00 $
$ 0.00 $

 

 

 

 

 

 

 

 

 

 

 

Total amounts from separate pages, if any. +§ 0.00 +3
11. Calculate your total current monthly income. Add lines 2 through 10 for each + _-
column. Then add the total for Column A to the total for Column B. ¢ _ 373.00 $ 0.00 “ls 373.00
Total current

monthly income

  

a Determine Whether the Means Test Applies to You

 

12. Calculate your current monthly income for the year. Follow these steps:

Copy line 11 here™> P $ 373.00

 

 

 

 

 

 

 

 

 

12a. Copy your total current monthly income from line 11.
Multiply by 12 (the number of months in a year). x 12
12b. The result is your annual income for this part of the form. 12b, $__ 4,476.00
13. Calculate the median family income that applies to you. Follow these steps:
Fill in the state in which you live. |Connecticut
Fill in the number of people in your household. 1
Fill in the median family income for your state and size of household. 13. $ 42,029.00

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

14.

How do the lines compare?

14a. W@ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is ne presumption of abuse.
Go to Part 3.

14b. 2 Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A~2.

Sign Below

 

 

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

x

 

 

 

Signature of Debtor 2

pate 07/17/2019

Date

MM/ DD /YYYY MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 122A-2.
If you checked line 14b, fill out Form 122A—2 and file it with this form.

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2
Case 19-50920 Doci0 Filed 07/23/19 Entered 07/24/19 16:15:38 Page 3 of 3

Fill.in this information to identify your case:

Debtor? John . Burkhardt Jr

First Name Middie Name Last Name

 

Debtor 2
(Spouse, #f filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of Connecticut
Case number 19-50920

(if known)

 

 

CO) Check if this is an amended filing

 

Official Form 122A—1 Supp

 

Statement of Exemption from Presumption of Abuse Under § 707(b)(2) 12/15

 

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible, If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

| Part 4: | Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
Individuals Filing for Bankruptcy (Official Form 101).

C] No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
submit this supplement with the signed Form 122A-1.

Wf Yes. Go to Part 2.

Ez Determine Whether Military Service Provisions Apply to You

 

2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

w No. Go to line 3.

QO) Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
10 U.S.C. § 104(d)(1); 32 U.S.C. § 901(1).

LI No. Go to line 3.

CO) Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
C2 No. Complete Form 122A-1. Do not submit this supplement.
id Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

@ no. Complete Form 122A-1. Do not submit this supplement.
C] Yes. Check any one of the following categories that applies:

UJ I was called to active duty after September 11, 2001, for at least if you checked one of the categories to the left, go to
90 days and remain on active duty. Form 122A-1. On the top of page 1 of Form 122A-1,
_-check box 3, The Means Test does not. apply now, and
sign Part 3. Then submit this supplement with the signed
Form .122A-1. You are not required to fill out the rest of
Official Form 122A-1 during the exclusion period. The

Cl 1 was called to active duty after September 11, 2001, for at least
90 days and was released from active duty on
which is fewer than 540 days before | file this bankruptcy case.

CJ | am performing a homeland defense activity for at least 90 days. exclusion period means the time you are on active duty
or are performing a homeland defense activity, and for
C1 I performed a homeland defense activity for at least 90 days, 540 days afterward. 11 U.S.C. § 707(b)(2)(D)(i).
ending on , which is fewer than 540 days

If your exclusion period ends before your case is closed,

before | file this bankruptcy case.
you may have ‘to file an amended form later.

 

 

 

Official Form 122A-1Supp Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
